            Case 1:09-cr-00073-JRH-BKE Document 439 Filed 12/10/14 Page 1 of 1


                             IN THE UNITED           STATES DISTRICT COURT

                             FOR THE        SOUTHERN DISTRICT OP GEORGIA

                                                AUGUSTA DIVISION




UNITED STATES        OF AMERICA                       *
                                                       *



               v.                                     *                      CR    109-073



BRIAN CHRISTOPHER HARRIS                              *




                                                  ORDER




        Defendant      has    filed         a     motion    for       reduction     of     sentence    under          18


U.S.C.   § 3582(c)(2)         on the basis that Amendment 782 to the United States

Sentencing       Guidelines         has         revised         the   guidelines          applicable       to    drug

trafficking         offenses.           Even       though       Amendment     782        became    effective          on

November    1,       2014,    no    defendant         may        be    released      on    the     basis    of     the

retroactive amendment before November 1, 2015.                                    See U.S.S.G.       Amend.       788.

Thus,    the        Court    will       undertake           a     review     of     cases       involving         drug

trafficking         offenses       in       due    course.            If   Defendant       is     entitled       to    a

sentence     reduction         as       a    result        of     amendments        to    the     United        States

Sentencing Guidelines,              the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 438) is DEFERRED.1
        ORDER ENTERED at Augusta, Georgia, this                                   /Q        day of December,
2014.




                                                        jL
                                                    HONORABLE         J.   RANDAL   HALL
                                                    UNITED^STATES DISTRICT JUDGE
                                                    SOUTHERN DISTRICT OF GEORGIA


        The Clerk is directed to terminate the motion for administrative purposes
